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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


  Chianne D., et al.,
              Plaintiffs,

  v.                                           Case No. 3:23-cv-00985-MMH-LLL

  Jason Weida, in his official capacity
  as Secretary for the Florida Agency
  for Health Care Administration, et al.,
               Defendants.
  _______________________________/


                            PLAINTIFFS’ WITNESS LIST

        Plaintiffs disclose the following witnesses:

                                                   WILL            MAY
  WITNESS
                                                   CALL            CALL

  Chianne D.                                           X

  Jennifer V.                                          X

  Henry V.                                                           X

  Kimber Taylor                                        X

  Lily Mezquita                                        X

  Jarvis Ramil                                         X

  Dr. Brenda Cude                                                    X
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  William Roberts                               X

  Nathan Lewis                                  X

  LaQuetta Anderson                                                 X

  Tonyaleah Veltkamp                                                X

  Hari Kallumkal                                                    X

  Nichole Solomon                                                   X

  Julie Reed                                                        X

  Andrea Latham                                                     X

  James Garren                                                      X

  Robyn Goins                                                       X

  Records Custodian                                                 X
